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Report of Professor


                                             November 26, 2018


        I am a Professor of Political Science in the Department of Government at the University of

Maryland, College Park, where I have been employed on the faculty for 27 years. I received a Ph.D. in

political science at the University of Chicago in 1990. My areas of specialization include voting behavior,

political geography, geographic information systems (GIS), state politics, population mobility and

immigration. Publications include papers in well-regarded peer reviewed political science journals (AJPS,

APSR, JoP, QJPS), journals in other social science fields, as well as several books relating to the same

topics. I regularly teach courses that include instruction on alternative voting systems, election reform,

political redistricting, political behavior and elections. I am familiar with the published research at the

intersection of electoral institutions and political behavior.   I have consulted and provided testimony in

previous court cases relating to election reform and redistricting. A curriculum vitae is attached as an

exhibit to this report and I attest to its truth and accuracy. Since complete data for studying the

November 2018 election returns has only recently been made available, analysis of precinct level

socioeconomic and demographic characteristics on the Second District vote is ongoing. I reserve the

right to amend and supplement this report as analysis is completed and additional data become

available.


Summary


        This report identifies inherent limitations that

system imposes upon voters and voter choices which are well recognized by experts. Key deficits to be

addressed include the fact that state election law may be inconsistent with instant runoff voting; this

system forces voters to make blind guesses about the ultimate match-up in the final round of vote
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counting rather than permitting a well-considered choice between two final contenders; instant runoff

elections privilege knowledgeable, highly informed voters, at the expense of less studied voters; there is

the frequent possibility that a candidate might obtain more first place votes, but still lose the election to

a candidate who received more second or third place votes a problem called monotonicity failure; the

problem of exhausted preferences in which voters whose preferred candidates are limited to one or two

candidates who fall behind in the vote count do not have their ballots counted in multiple rounds of

instant runoff counting, violating the one-person-one-vote principle. Taken together, the deficits of

instant runoff voting introduce greater inequalities among voters, and burdens on voter effectiveness,

than exist in the traditional plurality system, the standard runoff system, and other voting systems.




        Maine adopted ranked choice voting in the form of instant runoff elections in a 2016

referendum that passed on by a narrow 52% to 48% margin. Implementation was delayed by the state

legislature, but in a referendum vote Maine voters approved a measure to move forward with the new

method on June 12, 2018, in which 53.2% of

                                                                    In that special referendum, a total of

281,521 ballots were cast, although 3,330 voters left the vote on the question blank. As of closing date

for the November 2018 election, Maine reports 1,028,602 active registered voters 1, down slightly from

the number reported in November 2017: 1,036,264. A simple estimate suggests that turnout in the

June special election stood at about 27.4 percent.


        Under the original law, offices for U.S. Senator, U.S. House, Governor, State Senate and State

House were intended to be subject to instant-runoff vote tabulation whenever one candidate does not

win more than half of the total votes. If a candidate has greater than half of the votes among the lawful
1
 The state also reported 4,102 inactive voters in September 28, 2018. Data are reported here:
https://www.maine.gov/sos/cec/elec/data/index.html, accessed 11/25/2018.
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ballots, then that candidate wins the election outright. If not, then the instant-runoff count is triggered.

The first step is to eliminate the candidate with the least first-choice votes. The ballots from the



candidates and treated as a first-choice vote. If there are only two continuing candidates at this point,

the candidate with the most votes is declared the winner of the election. Alternatively, if there are

more than two continuing candidates but one candidate has garnered half the total votes cast, the

counting stops and a winner is declared. If there are more than two continuing candidates and again

there is no candidate who has achieved a simple 50%+1 majority, then the process is repeated for the

next candidate until a candidate has more than half the total votes among the remaining ballots.


        The portion of the Maine ballot with the three candidates for the U.S. Senate seat and the four

candidates plus a write-in option                                                                  , below.

The correct way to fill out the ballot is to read down and mark preferences in order moving to the right.

Voters are allowed, however, to fill in only a first place preference and not fill out additional choices.

Voters are not allowed to fill out multiple first (or second, or subsequent) choices, an error referred to

                   Voters have considerable leeway to not fill in a ranked choice beyond a first or

perhaps a first and second preference, essentially leaving the subsequent choices blank. Records from

the November                                                                         veal a very large share

of blanks. Commonly voters rank only a first choice, or sometimes a first and a second, but no third,

fourth or fifth. These ballot completion patterns evidence confusion and miscalculation on the part of

voters. Instructions offered to voters on the ballot itself were ambiguous, failing to clarify why it might

be advantageous to rank candidates beyond a first, or a first and second choice.
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Figure 1. Maine Sample Ballot for the 2018 General Election in the Second Congressional District
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        If a voter skips two or more ranks, leaving ovals blank, then that voter is excluded in an instant-

runoff count once all the properly ranked candidates on that ballot have been eliminated. Ballot

                                                                                                      ecause a

voter has ranked only candidates that have been eliminated, or perhaps failed to rank emerging front-

running candidates. As traili                               bulated

meaning two or more can be eliminated at the same time, if it is mathematically impossible for them to

win. Under the Maine instant runoff law, the Secretary of State is allowed the option to limit the

number of permitted rankings in any election to six. Notably, these provisions for counting ballots that

have incomplete rankings are distinct from those implemented in other jurisdictions where ballots that

fail to mark a full ordering of preferenc

the most common cause of ballot spoilage is overvoting, or marking more than one candidate as a first

(or second, or subsequent) preference. Undervoting does not invalidate a ballot, but skipping a first and

second choice and filling in a third (or subsequent) choice will result in the vote being recorded as blank.


                                                Office indicate that about 5,582 (1.9%) voters in the

Second District failed to mark any candidate for Congress at any rank, basically leaving all ovals blank. 2

Only a handful marked third, fourth and fifth preferences without marking a first or second, thereby

invalidating their ballots. Nearly half, about 134,500 (46.4%), marked an oval to express a first

preference, not moving beyond that first column on the ballot. In a very distant second place were the

27,366 (9.5%) who marked a first and second preference, but no subsequent preferences.


        Just 9,249 (3.2%) voters ranked a candidate at all five positions, though in many cases it was the

same candidate at all five: 5,233 for Bruce Poliquin across all five; 2,080 for Jared Golden; 186 for

Tiffany Bond and 93 for William Hoar. Of the group who ranked a candidate in all five positions, 82
2
 The figures in this paragraph and appearing elsewhere about the November 2018 general election results are
drawn from data files originating at the Maine Department of the Secretary of State, Bureau of Elections, at the
following URL: https://www.maine.gov/sos/cec/elec/results/results18.html#Nov6, accessed November 26, 2018.
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percent placed the same candidate across all five. One can interpret these completion patterns in

various ways, but certainly the very small percentage filling in the ballot at all five ranks suggests no

small amount of misunderstanding about the way the system is supposed to work. That so many chose

not to rank alternative candidates, but expressed a preference for the same candidate across all ranks

also evidences some combination of misunderstanding and/or disregard for the theory motivating the

instant runoff.   In a prescient editorial written for the Portland Press-Herald in September 2016, local

columnist Gordon Weil anticipated that many voters in a traditional partisan election would not cast

second place votes.3 He was certainly proved right two years later.


State Constitutional and Legal Tradition


         The Supreme Judicial Court of Maine indicated in a 2017 opinion that implementing instant

runoff voting for state level offices would violate the Maine Constitution, which requires a simple

plurality rule.4 Plurality voting is the familiar and regular practice of voting for only one candidate per

office with the candidate receiving the most votes winning the election

vote total is less than a majority. The Maine Supreme Judicial Court did not indicate that the instant

runoff system would pose a state constitutional conflict if implemented for primary elections or for

general elections for federal office.


        Maine is not the only state where an instant runoff system is considered to run contrary to state

election law and the state constitution. Most state constitutions mandate that the winner for state



majority (Langan 2005, 1576). Also worth remembering is that candidates who win with pluralities are

ordinarily considered legitimately elected, even for the office of President of the United States (Nielson

3
                     Ranked-choice voting: Costly, complicated, undemocratic            -Herald,
September 30, 2016, URL: https://www.pressherald.com/2016/09/30/maine-voices-ranked-choice-voting-costly-
complicated-undemocratic/, accessed November 27, 2018.
4
  2017 ME 100, 162 A.3d 188.
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2017, 543). In several recent presidential elections, the victor received only a plurality of the popular

vote: Richard M. Nixon in 1968; Bill Clinton in 1992 and 1996. Because of the Electoral College system,

George W. Bush won the presidency with less than a majority of the popular vote in 2000, as did Donald

Trump in 2016. Winning without a clear-cut majority is not so uncommon in American political life.


Preferences May Differ Depending on Changing Match-Ups


        A defect that is addressed in many research papers on instant runoff voting is the possibility that



kinds of preference changes occur during standard, temporally sequenced, runoff elections in which two

leading candidates contend for the majority in a second election after the others have been eliminated

in the general election. Voters often prefer a different ordering of candidates when considering four

choices (in the instant runoff situation) than when considering just two (in the standard runoff). The

way voters decide will depend critically upon the actual candidates still in contention. But in the instant

runoff situation voters do not have the information about the final match-up at the time that they vote.

They have to guess at what will happen to their second, third and subsequently ranked candidates.

They are left in the dark and can only guess about what might happen in the multiple rounds of

counting.


        A summary of the ballot level preference orderings from the November 2018 Second District

Congressional election shows that when we include the option to leave ovals blank, and include the

write-in choices, there are over 1,500 candidate combinations (see Table 1 for the top 25 most

common). Certainly some combinations are more common than others, with half of all Second District

voters expressing customary simple and sincere preferences limiting their choice to a single candidate.

But we do see the remaining voters offering up a long list of alternative rank orderings suggesting the
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    Table 1. Twenty-Five Most Common Preference Orderings in the November 2018 Maine
    Second District Congressional Election
      Row       First    Second      Third     Fourth Fifth    Total Ballots % of Total
        1         R         U          U         U      U            81,267       28.03
        2         D         U          U         U      U            47,396       16.35
        3         D         B          H         R      U            18,710        6.45
        4         D         B          H         U      U            16,725        5.77
        5         D         B          U         U      U             9,906        3.42
        6         R         H          B         D      U             9,174        3.16
        7         R         B          H         D      U             6,634        2.29
        8         D         H          B         R      U             6,578        2.27
        9         U         U          U         U      U             5,582        1.93
       10         D         H          B         U      U             5,503        1.90
       11         R         R          R         R      R             5,239        1.81
       12         B         U          U         U      U             3,957        1.36
       13         R         D          B         H      U             3,276        1.13
       14         D         B          H         U      R             3,248        1.12
       15         D         H          U         U      U             2,984        1.03
       16         D         R          U         U      U             2,683        0.93
       17         R         D          U         U      U             2,664        0.92
       18         D         R          B         H      U             2,628        0.91
       19         R         H          U         U      U             2,571        0.89
       20         R         B          U         U      U             2,492        0.86
       21         R         H          B         U      U             2,458        0.85
       22         R         D          H         B      U             2,088        0.72
       23         D         D          D         D      D             2,083        0.72
       24         B         H          D         R      U             1,992        0.69
       25         H         U          U         U      U             1,939        0.67
                                                      Sum           249,777       86.14
              U=blank               O=Write-in
              R=Poliquin            B=Bond
              D=Golden              H=Hoar
    Note: Only the most frequent 25 orderings are presented. These common combinations captured
    249,777 ballots, or 86.14% of all ballots cast. An additional 1,528 combinations were expressed by
    Maine Second District voters but are not included in this table. Source: Maine Secretary of State,
    Election Returns for November 6, 2018, URL:
    https://www.maine.gov/sos/cec/elec/results/results18.html#Nov6, accessed November 26, 2018.
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mix of guesswork and annoyance that went into the task. In addition to the common combinations

reported in Table 1, over 2,000 voters showed ballot completion patterns that placed the two third

party candidates as first, second or third, in varying orders, often not bothering to fill out ovals for

fourth and fifth place. These voters anticipated that Tiffany Bond or William Hoar would proceed to a

runoff count instead of Jared Golden and Bruce                                            was limited once it

became clear in the initial counting that their higher ranked preferences were not widely shared.


        The superiority of the standard runoff election is seen in that it offers voters a chance to vote

again after fully considering the relative merits of the final two candidates. A campaign in the interim

between the general and runoff election often sheds new light on the candidates, clarifies preferences

and can certainly change them. This has to do with comparison processes. Even without a campaign

to introduce new information, preferences between two options may still change when they are

situated in a context among four choices rather than when they remain the only two. The relative

attractiveness of x compared to y regularly depends on the presence or absence of additional options

(Tversky and Simonson 1993). Some non-trivial share of voters will evaluate the choice of a Republican

and a Democrat differently when they are in the presence of third party and independent candidates

than they will when they are squaring off only against each other, even if information about the

candidates does not change in the interim.


        Finally, the ranking system excludes the expression of some preference orderings. For example,

voters might prefer Jared Golden over William Hoar, William Hoar over Tiffany Bond, but Tiffany Bond

over Jared Golden. This is a cyclical ordering, and it is intransitive meaning it results in a preference

loop. Because ranked choice voting forces voters to rank candidates, it restricts voters with intransitive

preferences from expressing them (Sorens 2018). If the voter is forced by law to rank Golden first, Hoar

second, and Bond third, this ballot could be understood to be a vote for Golden over Bond in a runoff
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between the two, but that accounting is exactly the opposite of what the voter wanted. Intransitive

preference orderings are not out of the ordinary, either. One study showed that in three-candidate

elections, up to five percent of voters displayed such preferences, while in five-candidate elections 27

percent did (Radcliff 1993). The instant runoff does not permit the voicing of such preferences (Sorens

2018).


The Burden of Voter Knowledge


         Ranking candidates beyond a first preference is a task requiring considerable political knowledge

and sophistication (Burnett and Kogan 2014). The great advantage of a two-party system with plurality

voting is that participation and choice are straightforward and not burdensome. The main barrier to

participation is arguably the act of registration, not the act of voting itself. While everyone is in favor

of improved civic education and a more informed electorate, there are also limits on how much time

one can reasonably expect citizens to invest in acquiring political information, often about very obscure

candidates who are nearly invisible but have nevertheless met the minimum ballot access requirements.

Recent survey research has shown that voters do not understand ranked choice voting because of its

complex rules (Nielson 2017). Though we do yet not have representative surveys of the Maine

electorate on this question, one can infer from the large number of Second District ballots where only a

first preference was ranked that many voters simply did not know enough about the other candidates to

confidently order them. An alternative possibility is that these voters held their first preference so

strongly that they did not desire to express a second choice or subsequent preferences. Astonishingly,

several dozen voters failed to rank a first preference, leaving the oval in the first column blank, but did

rank second and/or subsequent preferences, surely indicating confusion and lack of understanding.


           A related problem is that the voters who prefer lower profile candidates who do not rank

second, third or subsequent preferences will not be counted in subsequent rounds of ranked choice
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voting because their ballots are quickly exhausted. Burnett and Kogan (2015) found that failure to rank

all of the candidates was very high, ranging between 10 and 27 percent of all ballots in four instant-

runoff elections from California and Washington State. Table 1 shows that among the top 25 most

common combinations, there are several that rank only a first, or a first and second choice, but no

subsequent preferences. As for first preference support for lesser known candidates, about 4,000

voters ranked Tiffany Bond first, but left all other ovals blank (see Table 1, row 12). About 1,900 voters

ranked William Hoar first, but left all other ovals blank (see Table 1, row 25). Then there were the

considerable share who ranked one of the third party candidates first, filled out ovals to rank other

minor party/independent candidates (Hoar, Bond, write-in), but did not rank either of the two major

party candidates (Poliquin, Golden), leaving blanks in the third, or third, fourth and fifth place ovals.

These voters were apparently counting on one of the third-party candidates making it to the runoff

round. Of course they wound up quickly eliminated from the runoff count when they turned out to

have misestimated their preferred candidate s chances.


        Voters whose first preference turns out to be one of the leading candidates, and knowledgeable

enough to rank all candidates, or confident enough to make a guess at how to rank them, will have their

ballot counted repeatedly until a candidate obtains a simple majority. Unlike the voters whose first

preference winds up lagging behind, these voters will be full participants in the instant runoff system.

The tendency to exclude voters from runoff counts when their first preference is not widely shared

points to uneven voting power biased in favor of the knowledge and sophistication of voters who favor

frontrunners and rank all of the candidates.


        Social science research on instant runoff voting also confirms that voters who are less

knowledgeable are more likely to make overvote errors or mark ballots in a way that will disqualify them

(Neely and Cook 2008; Neely and McDaniel 2015, 4). These are among the same voters who fail to rank
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more than one or, at most, two candidates, limiting the voice of people who are less educated in

shaping the outcome. Racial and ethnic minority voters, and elderly voters, are among those found to

be vulnerable to errors in voting under ranked choice systems even in settings where the level of voter

information is generally high (McDaniel 2015). We have not had the time to fully analyze the data from

                                                                                         appreciably from




        Finally, one of the short-cuts voters use to help them vote is their party identification. With

party identification, voters need not be fully informed to cast an informed vote. This is because party

affiliation unifies voters and candidates on a platform of substantially shared interests and values. The

great utility of party identification as a voting cue is reduced in the instant runoff system. Many

independent and third party candidates are unknown, and have not actively campaigned. Discovering

essential information about where they stand on issues, what values they adhere to, or even what

towns and neighborhoods they hail from is almost impossible for an ordinary citizen with the usual

supply of time and resources. No wonder that surveys have shown that ranked choice voting is less

popular than alternative systems when voters are given alternatives (Nielson 2017, 555). Because of its

complexity, instant runoff voting exacerbates inequalities in the electorate, introducing greater



information investment and expertise for proper participation. The widespread plurality system is

already quite demanding and numerous studies have shown that less educated and interested voters

fail to register and vote even with a high level of familiarity and ease. There is no evidence that these

inequalities in participation diminish when instant runoff voting is introduced, and most evidence points

in the opposite direction.
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The Non-Monotonicity of Instant Runoff Voting


        Perhaps the most glaring problem with instant runoff voting is that the candidate with the most

first choice votes may not win the election. This is not a merely theoretical and abstract possibility.

                     monotonicity failure    when getting more first place votes can cause a candidate

to lose, while getting fewer first place votes can cause a candidate to win (Miller 2012). Election

systems that lack this defect, such as plurality voting, are said to be monotonic. The outcome of

elections held under monotonic election systems is reliable because the procedures for determining the

winner are transparent and uncomplicated. An election winner is determined quickly, usually on

Election Day. Proponents of instant runoff voting have suggested that an actual result wherein the

candidate with the most first place votes loses is unlikely, but research and practice has shown that it is

alarmingly common (Ornstein and Norman 2014; Miller 2012; Smith 1973; Doron and Kronick 1977;

Brams and Fishburn 1983).


        In a 2009 election for mayor in Burlington, Vermont, conducted under instant runoff voting, the

Republican candidate received 39% of first preference votes; the Democrat received 27% and a left-

leaning Progressive candidate received 34% (Ornstein and Norman 2014; Miller 2012). The Democratic

candidate was eliminated, and those ballots were then distributed to the two leaders on the basis of

their second choice preferences: 37% for the Republican, and 63% for the Progressive, with those votes

                                                                          12, 2). In the instant runoff final

vote count the Republican received 39%+10%=49%, falling just short of the majority. The Progressive

candidate received 34%+17%=51% and won. Miller goes on to show that in a hypothetical subsequent

election, the same Progressive candidate in the lead with 47% could lose because third place

Republicans (at 26%) have allocated their second place votes to the Democratic candidate (at 27%).

Again, the candidate with the most first place votes winds up losing by the same strange rules that
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allowed them to win before. Upon recognizing how the instant runoff system elected the wrong

candidate, Burlington voters repealed it in 2010. In Oakland, California, in 2010, a candidate won the

                             her attention on becoming the second choice of several minor candidates

and the clearest alternative to the leaders. She wound up winning on the basis of second and third

preference votes and went on to proclaim this as a preferred strategy in future elections.


        These real world examples show that instant runoff voting does not fix the spoiler problem, as

proponents often allege, and does not prevent the election of candidates who are not preferred by

voters. To be sure, the problem is more threatening when elections are close, but Maine has had a

history of close multi-candidate general elections. Instant runoff voting fails to produce a reliable result

in these cases. This is because minor changes in the order of disqualification of candidates and the

transfer of votes to other candidates can swing the election toward different outcomes. Election

systems need to produce monotonic, reliable, results. When they do not, voters may begin to lose

trust in them.


Conclusions


        The benefits of instant runoff voting have been vastly exaggerated and its problems are

becoming increasingly evident as more elections occur under its implementation. Chief among the

problems is that in the absence of sufficient information, many voters vote for fewer candidates than

permissible, or for only one candidate. The system privileges voters who are highly sophisticated and

understand how outcomes may be manipulated through alternative ranking strategies. In turn,

candidates also learn quickly how to game instant runoff systems to their advantage whereas plurality

rule elections are less guileful in this respect. Perhaps worst of all is the unreliability of outcomes or

monotonicity failure that accompanies instant runoff voting. This system allows the candidate that

wins the most first place votes to lose due to the ordering of second, third and subsequent place
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rankings. In cases where this has occurred, voters have decided to cast it off as overly complex and

confusing. Elections always expect something by way of voter knowledge, and they should. But there

are reasonable limits to how much we can expect of citizens with their varying levels of interest in and

experience with the subject matter of politics.


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Request for Expert Opinion


Goodman.

Compensation

I am being compensated for my work on this case at a rate of $300 per hour plus expenses.

Declaration

I declare under penalty of perjury that the foregoing is true and correct, and that if I am called as a
witness, I will testify competently and consistently with the opinions stated above.



     ___________________

         James G. Gimpel



         11/27/2018

              Date
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                       Exhibit A
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                                                   Fall 2018
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 Personal:
       Current residence: Columbia, Maryland


 Current Position:
       University of Maryland - College Park.
                       Full Professor, August 2001-present.
                          Editor, American Politics Research, 2003-2011 (eight years)

                       Associate Professor with tenure, August 1997-August 2001.
                       Assistant Professor, January 1992-August 1997.
 Education:
       University of Chicago. Ph.D. Political Science, 1990.
       University of Toronto. M.A. Political Science, 1985.
       Drake University. B.A. with honors. Political Science, 1984.
 Books:
       Dante Chinni and James G. Gimpel. 2010. Our Patchwork Nation: The Twelve Community Types that
        Make Up Our Nation (New York, NY: Gotham, a Penguin imprint).
       James G. Gimpel, J. Celeste Lay and Jason E. Schuknecht. 2003. Cultivating Democracy: Civic
         Environments and Political Socialization in America (Washington, DC: Brookings Institution Press) .
       James G. Gimpel and Jason E. Schuknecht. 2003. Patchwork Nation: Sectionalism and Political Change in
         American Politics (Ann Arbor, MI: University of Michigan Press).
       James G. Gimpel. 1999. Separate Destinations: Migration, Immigration and the Politics of Places (Ann
         Arbor, MI: University of Michigan Press).
       James G. Gimpel and James R. Edwards, Jr. 1999. The Congressional Politics of Immigration Reform
         (Needham Heights, MA: Allyn and Bacon).
       James G. Gimpel. 1996. National Elections and the Autonomy of American State Party Systems
         (Pittsburgh, PA: University of Pittsburgh Press).
       James G. Gimpel. 1996. Fulfilling the Contract: The First 100 Days (Needham Heights, MA: Allyn and
         Bacon). Published in hardcover under the title: Legislating the Revolution: The Contract with America
         in its First 100 Days.
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                                                                                                                      2
 Articles in Peer Reviewed Journals:

      Caroline Carlson and James G. Gimpel.         Political Implications of Residential Mobility and Stasis on
  1
        the Partisan Balance of Locales Political Geography. Accepted and Forthcoming.
                                                                                                              Party
  2
                            Population, Space and Place. Accepted and Forthcoming.

  3
        Studies. Accepted and Forthcoming.
      James G. Gimpel and Iris Hui. 2018.
  4
                    City and Community. 17: 3: 883-905.
      James G. Gimpel and Iris Hui. 2017.                                                              Annals of
  5
        Regional Science 58: 3: 441-468.
      James G. Gimpel and Iris Hui. 2015.
  6
                                            Political Geography 48: 4: 130-142.
      James G. Gimpel, Frances E. Lee and Michael Parrott. 2014.
  7     Industry Sector Contributions to U.S. Congressional C        American Politics Research 42: 6: 1034-
        1076.
      Wendy K. Cho, James G. Gimpel and Iris Hui. 2013.
  8
        American Electorate Annals of the Association of American Geographers 103: 4: 856-870.
      James G. Gimpel, Frances E. Lee and Rebecca U. Thorpe. 2012.
  9
                                                      Political Science Quarterly 127: 4: 567-596.
      Daron R. Shaw, Alan Gerber, James G. Gimpel and Donald P. Green. 2012.
 10                                                                                                     Journal
       of Political Marketing 11: 4: 241-249.
 11   Wendy K. Cho, James G. Gimpel and Daron R. Shaw. 2012.             Tea Party Movement and the Geography
                             Quarterly Journal of Political Science 7: 2: 105-133.
      Wendy K. Cho and James G. Gimpel. 2012.                                                              Annual
 12    Review of Political Science 15: 443-460.
      Daron R. Shaw and James G. Gimpel. 2012.
 13     on Campaign Appearance Effe                                   Political Communication 29: 2: 137-159.
      Scott L. Althaus, Brittany J. Bramlett and James G. Gimpel. 2012.
 14
                                                                    Journal of Conflict Resolution 56: 3: 382-412.
      Andrew Reeves and James. G. Gimpel 2012.
 15                                                     Political Behavior 34: 3: 392-420.
                                                                                    How Large and Long-lasting
 16     Are the Persuasive Effects of Televised Campaign Ads? Results from a
        American Political Science Review 105: 1: 135-150.
      Brittany H. Bramlett, James G. Gimpel and Frances E. Lee. 2011. The Political Ecology of Opinion in Big-
 17
                                Political Behavior 33: 4: 565-600.
      Wendy K. Cho and James G. Gimpel. 2010.
 18
                                        American Journal of Political Science 54: 1: 74-89.
      Scott L. Althaus, Anne M. Cizmar and James G. Gimpel. 2009.
 19
        Geography of News Cons                                Political Communication 26: 3: 249-277.
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 A

                                                 Political Socialization and Reactions to Immigration-Related
 20
        Diversity in Rural         Rural Sociology 73: 2:180-204.
      James G. Gimpel, Frances E. Lee and Shanna Pearson-Merkowitz. 2008.
 21     Interdistrict Funding Flow                          American Journal of Political Science 52: 2: 373-
        394
      James G. Gimpel, Kimberly Karnes, John McTague and Shanna Pearson-Merkowitz. 2008.                     -Decay
 22
        in the Political Geography of Friends-and-              Political Geography 27: 2: 231-252.
      James G. Gimpel, Karen M. Kaufmann and Shanna Pearson-Merkowitz. 2007.                         ound vs. the
 23     Blackout States:                                                                 Journal of Politics 69: 3:
        786-797.
      Wendy K. Cho and James G. Gimpel. 2007.                                                 American Journal of
 24
       Political Science 51: 2: 255-268.
      Wendy K. Cho, James G. Gimpel and Tony Wu. 2007.
 25
       Political Geography 26: 3: 330-351.
      James G. Gimpel, Joshua J. Dyck and Daron R. Shaw. 2007.
 26
                     Party Politics 13: 3: 347-370.
      Wendy K. Cho, James G. Gimpel and Tony Wu. 2006.
 27
                                                                               Journal of Politics 68: 4: 977-991.
      James G. Gimpel, Frances E. Lee and Joshua Kaminski. 2006.
 28
                                         Journal of Politics 68: 3: 626-639.
      Wendy K. Cho, James G. Gimpel and Joshua J. Dyck. 2006.                                        tion, Political
 29
       Socialization and Voter Turnout Journal of Politics 68: 1: 156-167.
      James G. Gimpel, Joshua J. Dyck and Daron R. Shaw. 2006.
 30
                                                    Electoral Studies 25: 1: 35-58.
      James G. Gimpel and Joshua J. Duck. 2005.                                                               Social
 31
        Science Quarterly 86: 3: 531-548.
      James G. Gimpel, Joshua J. Dyck and Daron R. Shaw. 2004.
 32
                                Political Behavior 26:4: 343-375.
      Wendy K. Cho and James G. Gimpel. 2004.
 33
       Political Geography 23: 8: 821-832.
      James G. Gimpel, Irwin L. Morris and David R. Armstrong. 2004.
 34
        Examining Political Partici                             Political Geography 23:1: 71-95
      James G. Gimpel and Jason E. Schuknecht. 2003.        tical Participation and the Accessibility of the Ballot
 35
             Political Geography 22: 4: 471-488.
      Karen M. Kaufmann, James G. Gimpel and Adam Hoffmann. 2003.
 36
                           Journal of Politics 65: 2: 457-476.
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      James G. Gimpel and Jason E. Schuknecht. 2002.
 37
        State Politics and Policy Quarterly 2: 4: 325-352.
      James G. Gimpel and Jason E. Schuknecht 2002.
 38
                                             American Politics Research 30: 2: 193-213.
      James G. Gimpel and Jason E. Schuknecht 2001.                                                         Journal of
 39
        Politics 62:1: 207-231.

 40
        Political Science Quarterly 115: 2 (2000) 201-225
      James G. Gimpel.
 41
        27: 1 (1999) 133-140.
                                                               -Interest, Symbolic Politics and Attitudes Toward Gun
 42
                  Political Behavior 20:3: 241-262.

 43
                               Social Science Quarterly 79:3: 634-648.
      James G. Gimpel and Robin M. Wolpert
 44
                                                             Legislative Studies Quarterly 22:4: 515-525.

 45
                  Political Behavior 19:3: 213-222.

 46
        Electio   Political Behavior 19:2: 157-175.
                                                                            -Holding and Public Attitudes Toward
 47
                                                      Political Research Quarterly 49: 1: 163-176.
      James G. Gimpel and Robin M. Wol
 48
                                                  Polity 28: 1: 67-82.

 49
        Mass Opinion in the Bo                            Political Behavior 17: 1: 135-153.

 50
                                    Political Research Quarterly 48: 1: 117-134.
                                           -Resistant and Reform-Adopting Machines: The Electoral Foundations of
 51
        Urban Politics 1910-          Political Research Quarterly 46: 2: 371-382.

 Chapters in Edited Books:


 1       Michael Alvarez and Lonna Atkeson, eds. Oxford Handbook of Polling and Polling Methods. (New York,
         NY: Oxford University Press).
      James G. Gimpe
 2
        Guide to State Politics and Policy. (Washington, DC: CQ Press)
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       James G. Gimpel and Shanna Pearson-Merkowitz.
 3
         Smidt, ed. Oxford Handbook of Religion and Politics (New York: Oxford University Press).
       James G. Gimpel and Shanna Pearson-                                                      gement Beyond the
 4       Schoolya     in Peter Levine and James Youniss, eds. Engaging Young People in Civic Life. (Nashville, TN:
         Vanderbilt University Press).
                                                                     -
 5       Laura Olson and John C. Green, eds. Beyond Red State, Blue State: Voting Gaps in American Politics
         (Upper Saddle River, NJ: Prentice Hall).
      James G. Gimpel and Frances E. Lee. 2006.
 6      Campaigning for M          in John Samples and Michael McDonald, eds. The Marketplace of Democracy:
        Electoral Competition and American Politics (Washington, DC: Brookings Institution Press).
      James G. Gimpel and J. Celeste Lay. 2005.
 7
        Alan Zuckerman, ed. The Social Logic of Politics (Philadelphia, PA: Temple University Press).
      James G. Gimpel and Joshua J. Dyck. 2004.                                                         in Daniel
 8      Palazzolo and James W. Ceasar, eds. Election Reform: Politics and Policy (Lanham, MD: Lexington
        Books).
      James G. Gimpel and Robin M. Wolpert. 1998.
 9                                                John Bruce and Clyde Wilcox (eds.) The Changing Politics of Gun
        Control (Lanham, MD: Rowman & Littlefield).
      James G. Gimpel. 1998.
 10
        Ronald Shaiko and Clyde Wilcox (eds.) The Interest Group Connection (Chatham, NJ: Chatham House).
      James G. Gimpel. 1994.
 11     Clyde Wilcox (eds.) Risky Business: PAC Decisionmaking and Strategy in 1992. (Armonk, NY: M.E.
        Sharpe). 56-62.
      James G. Gimpel. 1993.
 12
        Neal Zank (eds.) Welfare System Reform. (Westport, CT: Greenwood Press). 33-42.
 Grants and Awards:

      Hoover Institution, National Fellowship 2012-2013.
      Knight Foundation Grant, 2007-2011, $60,000 (by contract via D. Chinni).
      CIRCLE via The Pew Charitable Trusts, 2004-2005, $35,000.
      CIRCLE via The Pew Charitable Trusts, 2002-2003, $33,000.
      Ahmanson Community Trust Foundation, 2001-2003, $100,000.
      William T. Grant Foundation Research Grant, 2001-2003, $102,000.
      John M. Olin Foundation Policy Studies Grant, 1998, $30,000.
      Visiting Fellow, Congress Assessment Project, Washington, DC, 1995, $7,000.
      Summer Research Award, Graduate Research Board, University of Maryland, 1995, $4,500.
      University of Chicago Graduate Fellowship, 1986-1990.
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 Magazine Articles, Opinion Editorials, Book Reviews:
      James G. Gimpel. 2015.
                Extensions: A Journal of the Carl Albert Congressional Research and Studies Center (Winter): 6-11.
      Dante Chinni and James G. Gimpel. 2011.                                 The Atlantic Monthly. 307: 3 (April):
       70-81.
      Wendy K. Cho and James G. Gimpel. 2009.       Presidential Voting and the Local Variability of Economic
                 The Forum. 7: 1: 1-24.

      Wendy K. Cho and James G. Gimpel. 2008.
       Cho. Asian American Policy Review. 17: 155-161.
      James G. Gimpel. 2007.       -                                                          Alternatives
        Internationionales. December. 10-14.
      Wendy K. Cho and James G. Gimpel.                                            Politico. May 28, 2007
       Opinion-Editorial posted on-line at http://www.politico.com/news/stories/0507/4213.html
      James G. Gimpel and Kimberly A. Karnes. 2006.                                  -            P.S.: Political
        Science & Politics 39: 3: 467-472.
      James G. Gimpel                   -
        the Boston Globe. Sunday, December 19, 2004, Political Play.
      Wendy K. Cho and James G. Gimpel. 2004.                            -                          Campaigns &
       Elections. (July): 44-45.
      James G. Gimpel. 2003.                                                                                 Campaigns
        & Elections (August): 39-40.
      James G. Gimpel. 2003. Review of Donald Green, Bradley Palmquist and Eric Schickler. Partisan Hearts and
        Minds: Political Parties and the Social Identities of Voters    Perspectives on Politics.
        (September):606-607.
      James G. Gimpel and Jason E. Schuknecht. 2001.                                                       cal
                                 Opinion Editorial in The Washington Post. Sunday, January 21, Outlook Section.
      James G. Gimpel and Jason E. Schuknecht. 2000.
        Editorial in The Baltimore Sun Wednesday, September 6. p. 17A.

      James G. Gimpel. 2000.                                               Immigration Policy and the American
        Economy. In Political Science Quarterly 115: 1: (Spring): 145-146.
      James G. Gimpel. 1998.                     -
        Opinion Editorial in The Washington Post. Sunday, October 17. Outlook Section.
      James G. Gimpel. 1997-98.                           Taking the Initiative. In Political Science Quarterly 112:4:
        692-693.
      James G. Gimpel. 1996. Review of Philip Klinkner's The Losing Parties. In Journal of Politics 58: 245-246.
      James G. Gimpel. 1992. Review of Ralph Goldman's The National Party Chairmen and Committees. In
        American Political Science Review 86: 237-238.
      James G. Gimpel. 1991. Review of Mark Bisnow's In the Shadow of the Dome. In American Political Science
        Review 85: 630-631.
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                                                                                                                      7


      James G. Gimpel. 1991.                                                     Public Welfare 49: 8-11.
 Research in Progress or Under Review:


        for review.
                                Redistricting and the Geographic Redistribution of Political Influence
        for review.
 Conference Participation (recent):
      James G. Gimpel, Nathan Lovin, Bryant Moy and Andrew Reeves. 2018.                             -Rural Gulf in
        American Political Behavior. Paper presented at the Annual Meeting of the Midwest Political Science
        Association, April 7-9, Chicago, IL.
      James G. Gimpel and Nathan Lovin. 2016.
        1940-1966       Paper presented at the annual meeting of the American Political Science Association,
        September 1-4, Philadelphia, PA.
      Kristina Miler, Charles R. Hunt and James G. Gimpel. 2016.        ecruiting the Best Candidate for the Job:
        Candidate Dyads and Congressional Election Outcomes Paper presented at the annual meeting of the
        Midwest Political Science Association, April 8-10, Chicago, IL.
      James G. Gimpel and James Glenn. 2016.                                                                 Paper
        presented at the annual meeting of the Midwest Political Science Association, April 8-10, Chicago, IL.
      Caroline Carlson, Wendy K. Cho and James G. Gimpel. 2014.
        and Stasis on the                                 Paper presented at the annual meeting of the American
        Political Science Association, August 28-September 1, Washington, DC.
      James G. Gimpel and Iris Hui. 2013. Political Evaluations of Neighborhoods and their Desirability:

        Association, August 30-September 1. Chicago, IL.
      James G. Gimpel, Frances E. Lee and Michael Parrott. 2012. Business Interests and the Party Coalitions:
        Industry Sector Contributions to U.S. Congressional Campaigns
        of the Midwest Political Science Association, April 12-15. Chicago, IL.
      Brittany Bramlett and James G. Gimpel. 2011.
        American Poli      Paper presented at the annual meeting of the American Political Science Association,
        September 1-4. Seattle, WA.
      Wendy K. Cho, James G. Gimpel and Daron R. Shaw. 2011.                                           tivism or
                             Paper presented at the annual meeting of the Midwest Political Science Association,
        March 30-April 3. Chicago, IL.
      James G. Gimpel, Frances E. Lee and Rebecca U. Thorpe. 2010.

        Political Science Association, September 1-4. Washington, DC.
      James G. Gimpel and Iris Hui. 2010.                                                                     g
                       Paper presented at the annual meeting of the Midwest Political Science Association, April
        22-22, 2010. Chicago, IL.
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                                                                                                            8
  Ph.D. Dissertation:
       Field: American Government. Subfield: Political Behavior
       Title: "Competition Without Cohesion: Studies in the Electoral Differentiation of State
         and National Party Systems."

        Committee: Mark Hansen, Henry E. Brady, Gary Orfield, and J. David Greenstone (deceased)
  Teaching:
        Courses: Campaigns and Elections; American Voting Behavior; Immigrants and Immigration Policy;
         State Politics; U.S. Congress; Public Opinion; Statistics; Linear Models; GIS for Social Science
         Research; Intermediate GIS for Social Science Research; Spatial Statistics.
        Awards: University Excellence in Mentorship and Teaching Award, 1999.
          Panhellenic Association Outstanding Teacher Award, 1994.

  Ph.D. Students and Placements
          Michael Parrott, member (APSA Congressional Fellow, 2016)
          Stephen Yoder, chair (Government Accountability Office, 2014)
          Heather Creek, chair (Pew Research Center, 2013)
          Daniel Biggers, member (Yale Post-Doc 2012; moved to tt UC-Riverside, 2014)
          Brittany Bramlett, chair (tt Albright College, 2012, moved to non tt Georgia 2014)
          Rebecca Thorpe, member (tt University of Washington, 2010 tenured)
          Kimberly Karnes, chair (tt Old Dominion, 2010)
          Shanna Pearson-Merkowitz, member (tt University of Rhode Island, 2009, tenured)

          Joshua Dyck, chair (tt University of Buffalo, 2006 tenured, moved to UM, Lowell, tenured)
          Laura Hussey, chair (tt University of Maryland, Baltimore County, 2006 tenured)
          Richard Longoria, chair (tt Cameron University, 2006, moved to Texas A&M Brownsville 2014)
          Adam Hoffman, member (tt Salisbury University, 2005, tenured)
          Regina Gray, member (Department of Housing and Urban Development, 2005)
          J. Celeste Lay, chair (tt Tulane University, 2004, tenured)
          Atiya Stokes, member (tt Florida State University, 2004, moved to Bucknell, tenured)
          Thomas Ellington, member (tt Wesleyan College, 2004, tenured)
          Timothy Meinke, member (tt Lynchburg College, 2002, tenured)
          Jason Schuknecht, chair (Westat research consulting, 2001)
          Constance Hill, member (Birmingham Southern College, 2000)
          Peter Francia, member (tt East Carolina University, 2000, tenured)
          Peter Burns, member (tt Loyola University, New Orleans 1999, tenured)
          David Cantor, member (Lake, Snell, Perry research consulting, 1999)
          Richard Conley, member (tt University of Florida, 1998, tenured)
          Susan Baer, member (tt San Diego State, 1998)
          and six others prior to 1998.
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  Advanced Training:

         Statistical Horizons Workshop on Big Data and Data Mining. University of Pennsylvania Wharton
         Business School, Philadelphia, PA, April 2013.
         Summer Workshop on Frontiers of Spatial Regression Analysis. Spatial Analysis Laboratory, University
          of Illinois, Urbana-Champaign, June 2007.
         Summer Workshop on Point Pattern Analysis, Department of Geography, University of
          California, Santa Barbara, June 2004.
         Summer Workshop on Distance and Accessibility, Department of Geography, Ohio State
          University, July 2002.
         Summer Statistics Program, ICPSR, University of Michigan, Ann Arbor, Michigan, June
          1994.
  Service to the Discipline:
          Journal Editor, American Politics Research, 2003-2011. During this time, submissions doubled from
            ~110 per year to over 220 per year; journal submission and operations moved on-line; journal
            content expanded by 30%; and review times dropped to a mean of 45 total days (sd=17 days).
          Elections and Voting Section Committee to Name Emerging Scholar in American Politics, 2003 and
            2007.
         Chair, APSA William Anderson Award Committee to Name the Best Ph.D. Dissertation in State and
           Local Politics, Federalism and Intergovernmental Relations, 2010.
         Manuscript Reviewer: American Political Science Review; American Journal of Political Science;
          Journal of Politics; Political Geography; Political Research Quarterly; Public Opinion Quarterly;
          Political Psychology; American Politics Research; Political Behavior; Urban Affairs Quarterly; Social
          Forces; Cambridge University Press, Brookings Institution Press, Johns Hopkins University Press; St.
                                rperCollins Publishing;   Pearson-Longman Publishing; Greenwood Press;
          University of Pittsburgh Press; SUNY Press; University of Michigan Press
         PRQ Outstanding Reviewer Award, 2009-2010
  Departmental Committee Service:
         2003-2010 Promotion and Tenure Committees (Karen Kaufmann, Frances E. Lee (twice), Geoffrey
           Layman, Linda Faye Williams and Irwin Morris)
         2001-2009 Faculty Supervisor, Maryland State Government Internship Program.
         2003-2004, 2001-2002; 1998-1999 Faculty Search Committees
         Service includes: Executive Committee; Undergraduate Studies Committee; Graduate Studies
           Committee; Salary Committee; Conley-Dillon Award Committee; Promotion & Tenure
           Working Group.
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                                                                                                             10
 University and College Service:

        2015-2017 Advisor to UMD BSOS Dean on College Fundraising and Development
        2015-2017 Advisor to UMD Office of Government Relations
        2015-2017 Advisor to UMD Office of Institutional Research, Planning and Assessment
        2014-2016 Advisor to University Relations Office of Prospect Management and Research
        2011-
        2007-2008 Joint Asian American Studies/Public Policy Faculty Search Committee.
        2005-2007 Department Representative on UM Faculty Senate
        2004-2006 Department Representative on College Promotion and Tenure Committee.
        2000-2005 Chair, Behavioral and Social Sciences Curriculum Committee
        1999-2001 Behavioral and Social Sciences Academic Council
        1997-2000 Faculty Senate Campus Parking Advisory Committee
 Research Consulting and Government Work Experience (selected):
        Head Start XXI Resource Center, Hammond, Indiana. GIS and Statistical Consultant to this
         Head Start Program Serving 1,200 clients in Lake and Porter Counties. October 2003-March
         2004.
        Naugatuck Valley Economic Development Commission. Adviser to this Connecticut economic
         development agency drafting an EDA report on the local economic impact of defense downsizing
         and industrial restructuring in the Northeast. January 1998-May 1998.
        U.S. Department of Housing and Urban Development. Office of Policy Development and Research.
         Policy analyst working in the economics division under Assistant Secretary for Policy Development
         and Research, John Weicher. June 1991-January 1992.
 Official Expert Testimony:
        League of Women Voters v. Commonwealth of Pennsylvania; December 2017.
        Agre et al. v. Wolf et al.; December 2017.
        Common Cause v. Rucho; and League of Women Voters v. Rucho; consolidated cases; April 2017.
        Juan Juaregui vs. City of Palmdale, California; May 2013.
        U.S. House of Representatives, Government Reform Subcommittee on Federalism and the Census,
         Testimony on Immigration-Induced Reapportionment, December 6, 2005.
        U.S. House of Representatives, Small Business Committee, Testimony on Population Mobility and the
         Rural Economy, May 20, 1997.
        Maryland Commission to Revise the Election Code, Testimony on Third-Party Voting and Registration,
         November 1996.
 Invited Talks and Speaking Engagements (recent):
        Invited Guest, Parkdale High School, Riverdale Park, Maryland; AP Government Lecture on Campaigns
          and Elections. November 30, 2017.


          May 11, 2017.
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                                                                                                                    11
 Invited Talks and Speaking Engagements (recent):


          November 9, 2016.


          2016.
        Presentation at American University, National Capital Area Political Science Association Workshop.
           Business Interests and the Party Coalitions: Industry Sector Contributions to U.S. Congressional
          Campaigns
        Conference Participant at Hoover Institution, Legal Immigration Policy Roundtable.             Stanford
         University. Palo Alto, California. October 4-5, 2012.
        Presentation at the University of Maryland Libraries, Speaking of Books Series. "Our Patchwork
          Nation." College Park, Maryland. October 19, 2011.




        Keynote Address delivered to the Annual Great Plains Political Science Association Convention.

          Brookings, SD. September 24, 2011.




          in the Geo
                                                                                                 Economic and
          Political Socialization across Our Patchwork Nation                    .




                                                                                     Distributive Politics of the


        Presentation at Christopher Newport University, Conference on Civic Education and the Future of

          VA. February 4, 2010.




        Presentation at the


        Presentation at the University of Wisconsin, Madison, American Politics W



                                                           . February 26-27, 2009.
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                                                                                                           12
 Invited Talks and Speaking Engagements (recent):


          Conference on Immigration and Spatial Concentration in Three Countries. Paris, France. January
          15-16, 2009.
